UNITED STATES DISTRICT COURT

DISTRICT OF PUERTO RICO
UNITED STATES OF AMERICA : No. 3:22-cr-00342-SCC
RECEIVED AND FILED

Vv.
Wanda Vazquez Garced, CLERK’S OFFICE LisDc BR
Julio Martin Herrera Velutini, :
Mark T Rossini OS] 24 ENE 24 pate

Defendants

MOTION TO INTERVENE FOR THE LIMITED PURPOSE OF UNSEALING
PROCEEDINGS

Transparency International UK (“TI-UK”) and the Organized Crime and Corruption
Reporting Project (“the OCCRP”) respectfully moves this Court for permission to intervene for
the limited purpose of seeking an order to unseal certain documents filed in this case (as
specified below), and to provide public access to all future documents, with the exception of
those documents that would pose unacceptable national security risks.

As of now, the electronic documents in this docket related to Bancrédito’s and the Office
of the Commissioner of Financial Institutions of Puerto Rico’s (OCIF) participation in court are
restricted under the level of “selected parties”. This is also the case in several documents
regarding the change of venue petition by Mr Herrera Velutini.

By making this application, we are relying on the First Amendment right of access to
court information. As related in our accompanying Memorandum of Law, the Court has
accepted all sealing requests as of the drafting of this submission, leaving the public with no
access to a large portion of the pre-trial proceedings and no proper explanation for this lack of

access.
Should there be any national security considerations for sealing the documents, there is a
methodology that both accommodates the First Amendment right of access and safeguards
information that would compromise national security. We ask the Court to order the parties to
redact any portions that risk compromising national security and make all other information
available to the public.

The First Amendment entrusts the public with a qualified right of access to judicial
proceedings and records, Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 8-10 (1986) (Press
Enterprise II), and that right of access is particularly important here as this case presents a
unique opportunity for Puerto Rican and American voters to understand how their own political
elections were at risk of corrupt interference. Moreover, the public deserves to understand the
involvement of an international bank investigated for money laundering and interference in
high-level Puerto Rican politics, as it raises wider questions about the use of international banks
to compromise transparency and democracy.

For the reasons stated in the accompanying memorandum in support of this motion we
ask the Court to unseal or redact all entries related to Bancrédito’s participation in court (namely
Documents #227, #235, #252, #253, #256, #265, #270, #284, #285, #286, #289, #367, #370,
#371, #398, #399, #400, #401) and all entries relating to the Office of the Commissioner of
Financial Institutions Puerto Rico participation (documents #231 #244 #246 #275 and #336). We
also request this Court to unseal the restricted documents linked to motions to dismiss #193 and
#224 (Specifically documents #262 #301 #340 and all its exhibits). Furthermore, the
government response to the OMNIBUS ORDER in 406 should be made public as there is no

explanation in the docket of why this document has been presented under seal.
We also request the unscaling of any other related documents already submitted or to be
submitted in the case, and any other filings that do not implicate national security. In the
alternative, should this Court decline to grant the relief sought, we ask the Court to make
findings on the record explaining its decision so that we may have an appealable Order. We
further request that the Court consider this request as an ongoing one and conduct future
proceedings in a manner that allows the public access to an open Court so as to comport with the

public's First Amendment right of access.

Respectfully submitted,
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and

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January 12, 2024
EXHIBIT A
UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA : No. 3:22-cr-00342-SCC-GLS All Defendants

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Vv.

Wanda Vazquez Garced,
Julio Martin Herrera Velutini,
Mark T Rossini

Defendant

MEMORANDUM OF LAW IN SUPPORT OF MOTION TO INTERVENE
FOR THE LIMITED PURPOSE OF UNSEALING PROCEEDINGS

Transparency International UK (“TI-UK”) and the Organized Crime and Corruption
Reporting Project (““OCCRP”) submit this memorandum of law in support of their motion to
intervene for the limited purpose of unsealing proceedings of the pre-trial hearings in this case.
To accommodate the public’s right of access guaranteed under the First Amendment to the
Constitution of the United States, the Court should order the parties to undertake review of the
proceedings and redact those portions that are likely to impact concerns of national security.
Those matters that do not impact such serious concerns should be made available to the public.
The role of the media is of great importance to help the public understand a case that involves the
possible abuse of the system by their own political representatives and individuals tied to a

banking entity in their jurisdiction.
BACKGROUND

Julio M. Herrera Velutini is the owner of Bancrédito (“The Bank’), an international bank
located in Puerto Rico since 2009 under Puerto Rico's International Banking Center Regulatory
Act of 1989. His bank became the subject of an examination by the Office of the Commissioner
of Financial Institutions of Puerto Rico (“OCIF”) in 2019. OCIF’s assessment on or around
September 18, 2020 found that The Bank had conducted dozens of suspicious financial
transactions without filing Suspicious Activity Reports (SARs). As the indictment notes,
financial institutions are required under The Bank Secrecy Act to file SARs with the Financial
Crimes Enforcement Network of the U.S. Department of Treasury (“FinCEN”), to help
prevent money-laundering or other abuses of the U.S. financial system. Several of the
transactions highlighted by OCIF were linked to bank accounts and entities owned by Mr
Herrera Velutini. (Indictment para. 25)

The United States Department of Justice indicted Mr Herrera Velutini, former FBI agent
Mark Rossini and former Governor of Puerto Rico Wanda Vazquez Garced for an alleged bribery
scheme. According to the indictment, “along with his co-conspirators, [Mr Herrera Velutini]
sought to interfere with the functions of both OCIF and the Financial Crimes Enforcement
Network of the U.S. Department of Treasury (FinCEN) by paying bribes to public officials
they believed had the power to intervene on The Bank's behalf”. (dndictment, para. 4)

The prosecution argues that Mr Herrera Velutini, Mr Rossini and others conspired to pay
“thousands of dollars to then-Governor Vazquez Garced, through payments to third parties that
would support Vazquez’s election, with the intent of influencing her to remove a Commissioner

of OCIF and replace him with an individual hand-picked by Herrera”. (Indictment, para. 4)
In a separate allegation against Mr Herrera Velutini, the prosecution claims that he and
others conspired to pay thousands of dollars to a second public official in the executive branch of
the government of Puerto Rico through payments to a close associate that would support the
public official’s election. All of this, with the intent of influencing the public official to end
OCIF’s examination of The Bank and to allow The Bank to avoid its obligation to report
suspicious activity to FinCEN. (Indictment, para. 4)

In August 2022, Mr Herrera Velutini, Ms Vazquez Garced and Mr Rossini were indicted
(Document #3) and the motion practice commenced. Since then, all defendants have introduced
motions to dismiss counts One, Two, Three and Four (Documents # 193, #199). Mr Herrera
Velutini separately presented a motion to dismiss counts Five, Six and Seven in document #224.
These motions have not yet been ruled on.

The Bank made its first appearance in court on July 5, 2023 (Document #225) and the
OCIF’s first appearance in court was on July 7, 2023 (Document #229). All documents relating
to their submissions or court appearances have been sealed with no explanation as to why details
of their involvement should not be made public.

The Court has already ordered that “restricted filings are the exception, not the norm”
(OMNIBUS ORDER, document #389). “The parties shall comply with the District of Puerto
Rico’s rules regarding sealing, including Standing Order No. 9, and refrain from unnecessarily
sealing documents that should be viewable to the public.” Standing Order No. 9 prays that the
inadequate use of restriction may cause damage to third parties “such as the press” and that
“procedures in federal courts are characteristically public in nature”.

Furthermore, according to Standing Order No. 9, motions to restrict “shall be open to

public inspection and shall identify the restriction level sought, address the interest to be
protected, and indicate why such interest outweighs the presumption of public access” (Standing
Order No. 9). However, Transparency International UK and OCCRP have noticed that most
motions to restrict by the parties have not included all the required elements. One example is
document #252 and the subsequent motions to restrict by Bancrédito, which fail to explain the
“interest to be protected” and to “indicate why such interest outweighs the presumption of public
access”. These motions only refer to “the reason expressed at footnote one of the motion” which
is inaccessible by non-related parties. This leaves the public with no access to the content of the
motion and no context as to why it has been restricted.

Transparency International UK (https://www.transparency.org.uk/) is a non-profit
organization in the United Kingdom that combats corruption by raising awareness and
advocating for reform. It researches and publishes on issues related to corruption and money
laundering, and acts “as a leading center of anti-corruption expertise in the UK.” The Organized
Crime and Corruption Reporting Project (OCCRP) is a global network of investigative

journalists headquartered in Amsterdam, publishing its articles online (at www.occrp.org). Its

articles cover matters related to corruption and organized crime internationally, including in
relation to the banking sector - see, for example, our projects “The Dictator’s Bank”
(https://www.occrp.org/en/the-dictators-bank/) and “The Troika Laundromat”
(https://www.occrp.org/en/troikalaundromat/).

For examples of media coverage, helping to illustrate the degree to which the public is
taking a legitimate public interest in this case, see:

5th August 2022: “Tory donor charged in Puerto Rico bribery scheme” (Financial Times)

31st August 2022: “Banker in bribe scandal pleads not guilty in Puerto Rico” (Associated

Press)
31st August 2022: “Banker at Center of Puerto Rico Corruption Scandal Denies Guilt”
(Bloomberg)

The articles are appended to this submission.

ARGUMENT

A. This Court Should Unseal Documents Allowing the Public to Properly Understand
the Issues and the Conduct of the Case

The First Amendment entrusts the public with a qualified right of access to criminal trials
and pre-trial proceedings. Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 8-10 (1986) (Press
Enterprise Il). This right “enhances both the basic fairness of the criminal trial and the
appearance of fairness so essential to public confidence in the system.” /d. at 13 (quoting
Press-Enterprise Co. v. Superior Court, 464 U.S. 501, 508 (1984) (Press-Enterprise 1).

Two inquiries determine whether the public’s right of access requires disclosure of
judicial proceedings and records. First, courts must determine whether the particular proceeding
at issue “has historically been open to the press and general public” and “whether public access
plays a significant positive role in the function of the particular process in question.”
(Press-Enterprise II, 478 U.S. at 8-9). If the proceeding meets both prongs of this test, the
public’s right of access attaches. /d. Courts must then disclose the disputed record or proceeding
unless there is an “overriding interest based on findings that closure is essential to preserve
higher values and is narrowly tailored to serve that interest.” /d. at 10 (quoting Press-Enterprise
I, 464 U.S. at 510). [fa court finds that such an interest exists, the court must make findings on
the record “specific enough that a reviewing court can determine whether the closure order was
properly entered.” /d. (quoting Press-Enterprise 1, 464 U.S. at 510). Even when the public’s right

of access does not attach, courts should explain their decisions in writing. See, e.g., Dhiab v.
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Trump, 852 F.3d 1087, 1091-96 (D.C. Cir. 2017). Written explanations are appropriate in such
circumstances because “[aJny step that withdraws an element of the judicial process from public
view makes the ensuing decision look more like fiat and requires rigorous justification.” United
States v. Aref, 533 F.3d 72, 83 (2d Cir. 2008) (quoting Hicklin Eng’g L.C. v. Bartell, 439 F.3d
346, 348 (7th Cir. 2006)).

There is no indication from the public record why the public’s constitutional right of
access should not be accommodated. See, e¢.g., id. at 290, 296, 370 and 418 as of Bancrédito and
document # 242 as of the OCIF. As this Court is aware, the judiciary should be especially
skeptical of requests by coordinate branches of the government to seal judicial proceedings, “lest
ignorance of the basis for the decision cause the public to doubt that complete independence of
the courts of justice [which] is peculiarly essential in a limited Constitution.” /d. at 83 (quoting
The Federalist No. 78 (Alexander Hamilton)) (alteration in original) (internal quotation marks
omitted). Even in cases involving the gravest national security threats, the First Amendment
“protects the people’s right to know that their government acts fairly, lawfully, and accurately.”
Detroit Free Press v. Ashcroft, 303 F.3d 681, 683 (6th Cir. 2002).

In the current case, this Court should enforce the public’s First Amendment right of
access to all pre-trial proceedings to the greatest extent possible without compromising national
security information.

The label affixed to a pre-trial status conference is not dispositive of the public’s right of
access. See Smith, 787 F.2d at 115-16. Rather, the Constitution requires this Court to determine
whether the public’s right of access attaches to any of these proceedings and to either unseal the
relevant documents or to make findings on the record explaining why disclosure is inappropriate.

See Press-Enterprise II, 478 U.S. at 8-10.

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Moreover, the government’s investigation of Ms Garced Vazquez, Mr Herrera Velutini
and Mr Rossini has received national media attention, and multiple aspects of the case support
public disclosure. First, the case is truly unique in that it allows the public in Puerto Rico, and the
U.S. more widely, to understand how their political and banking system might have been abused.
Second, the investigation involves anti-money laundering and anti-corruption efforts, an area of
government conduct in which public oversight serves as an important check. As a result, this
case is of particular interest to the public. Finally, as the Supreme Court has recognized, there is a
therapeutic value of public criminal proceedings — “when a shocking crime occurs, a community
reaction of outrage ... follows, and thereafter the open processes of justice serve an important
prophylactic purpose, providing an outlet for community concern.” Richmond Newspapers, Inc.
v, Virginia, 448 U.S. 555, 556 (1980).

For the above reasons, this Court should unseal all proceedings involving documents that
allow the public to properly understand the issues and the conduct of the case. In the alternative,
if this Court refuses to unseal the proceedings, the Court should make findings on the record
explaining its decision. The Court should also unseal any future proceedings to which the
public’s First Amendment right of access applies.

B. Intervention in a Criminal Case Is an Appropriate Vehicle for Asserting the Public’s
Right of Access

Although the Federal Rules of Criminal Procedure do not expressly provide for motions
to intervene, intervention is appropriate for asserting the public’s First Amendment right of
access. Aref, 533 F.3d at 81. As the Supreme Court has explained, federal courts may “formulate
procedural rules not specifically required by the Constitution or the Congress.” United States v.
Hasting, 461 U.S. 499, 505 (1983). “Because vindication of [the] right [of public access]

requires some meaningful opportunity for protest by persons other than the initial litigants ... a
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motion to intervene to assert the public First Amendment right of access to criminal proceedings
is proper.” Aref, 533 F.3d at 81 (alteration in original) (citations omitted) (internal quotation
marks omitted).

The Supreme Court has held that the press and the public's right of access to judicial
proceedings in criminal cases is a matter of presumption. “[A] presumption of openness inheres
in the very nature of a criminal trial under our system of justice.” Richmond Newspapers, Inc. v.
Virginia, 448 U.S. 555, 573 (1980). The First Circuit has concluded that the public's right of
access extends “to documents and kindred materials submitted in connection with the
prosecution and defense of criminal proceedings.” Re Providence Journal Co., 293 F.3d 1 (1st
Cir, 2002).

Federal courts “generally have permitted limited intervention by the media for the
purpose of pursuing access to court proceedings.” United States v. Abdelaziz, 2021 WL 4295840
(D. Mass. 2021); see also United States v. Blagojevich, 612 F.3d 558, 559 (7th Cir. 2010).

Should the Court grant movant’s request, the unsealing of these documents would play a
“significant positive role” in serving the public’s right to a “full understanding” of criminal
proceedings. Re Boston Herald, Inc., 321 F.3d 174, 182 (1st Cir. 2003) and In re Providence

Journal Co., Id.

CONCLUSION
For all of the above reasons, this Court should enforce the public’s First Amendment
right of access and unseal all proceedings in this case, with particular regard to those specifically
enumerated in this motion. If redactions are necessary, as much of the proceedings should be

unsealed as possible without compromising national security information. In the alternative, if

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the Court refuses to unscal the proceedings, the Court should make findings on the record
explaining its decision. The Court should also unseal documents relating to any future

proceedings to which the public's First Amendment night of access applies.

Respectfully submitted,

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